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                      Exhibit B
    Case 3:16-cv-02914-BEN-JLB Document 1-3 Filed 11/30/16 PageID.13 Page 2 of 2


SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREET ADDRESS:      325 S Melrose DRIVE
MAILING ADDRESS:     325 S Melrose DRIVE
CITY AND ZIP CODE:   Vista, CA 92081-6695
6RANCH NAME:         North County
TELEPHONE NUMBER: (760) 201-8027

PLAINTIFF(S) 1 PETITIONER(S):               Brock Malhis et.al.

DEFENDANT(S) 1 RESPONDENT(S): Milgard Manufacturing Inc


 BROCK MATHIS VS MILGARD MANUFACTURING INC [IMAGED]
                                                                                            CASE NUMBER:
NOTICE OF CASE ASSIGNMENT
and CASE MANAGEMENT CONFERENCE                                                              37-20 16-00035335-CU-PL-N C


CASE ASSIGNMENT

Judge: Jacqueline M. Stern                                                            Department: N-27

COMPLAINT/PETITION FILED: 10/11/2016


TYPE OF HEARING SCHEDULED                               DATE          TIME          DEPT               JUDGE
Civil Case Management Conference                        0612312017    09:00 am      N-27               Jacqueline M. Stern



A case management statement must be completed by counsel for all parties or self-represented litigants and timely filed with the court
at least 15 days prior to the initial case management conference. (San Diego Local Rules, Division II, eRG Rule 3.725).

AI! counsel of record or parties in pro per shall appear at the Case Management Conference, be familiar with the case, and be fully
prepared to participate effectively in the hearing, including discussions of ADR* options.




IT IS THE DUTY OF EACH PLAINTIFF (AND CROSS-COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH THE
COMPLAINT (AND CROSS-COMPLAINT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION FORM (SDSC
FORM #CIV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR) (SDSC FORM #CIV-359), AND OTHER
DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2.1.5.

ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
DIVISION II, AND WILL BE STRICTLY ENFORCED.

TIME STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have requested and
       been granted an extension of time. General civil cases consist of all civil cases except: small claims proceedings,
       civil petitions, unlawful detainer proceedings, probate, guardianship, conservatorship, juvenile, parking citation
       appeals, and family law proceedings.

COMPLAINTS: Complaints and all other documents listed in SDSC Local Rule 2.1.5 must be served on all named defendants.

DEFENDANT'S APPEARANCE: Defendant must generally appear within 30 days of service of the complaint. (Plaintiff may
      stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (SDSC Local Rule 2.1.6)

JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
       the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in
       the action.



COURT REPORTERS: Court reporters are not provided by the Court in Civil cases. See Local Rule 5.1.8

'ALTERNATIVE DISPUTE RESOLUTION (ADR): THE COURT ENCOURAGES YOU TO CONSIDER UTILIZING VARIOUS
ALTERNATIVES TO TRIAL, INCLUDING MEDIATION AND ARBITRATION, PRIOR TO THE CASE MANAGEMENT CONFERENCE.
PARTIES MAY FILE THE ATTACHED STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (SDSC FORM #CIV-359).




SDSC CIV-721 (Rev. 08-12)                                                                                                        Page; 1
                                                           NOTICE OF CASE ASSIGNMENT
